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U.S, DISTRICT COURS
DISTRICT OF VERMORT
FILED

United States District Court for the District of Vermont '
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Civil Action, File No.

Scott C. Traudt
PLANTIFF

Vs.

F/V Luke and Sarah, Woodhollow
Trawlers, Neil Stoddard,
Intermodal Transport Services,
Sunderland Marine Mutual

Insurance Company,
DEFENDANTS

2:03-CV l&O

VVVVVVVVVVV

COMPLAINT

This action is filed pro se by Plaintiff Traudt to recover maintenance,
compensation, curative monies, compensatory damages, punitive damages,
payment for permanent disfigurement, nominal damages, and reasonable
attorney’s fees for permanent disfigurement as a result of an injury that
occurred at sea aboard F/V Luke and Sarah on or about March 24, 1997.
Claims against the vessel and her owners are brought pursuant to 46 USCS
688 et. seq. (the Jones Act) and US Admiralty Law; additional claims
against named individual and corporate defendants are brought pursuant to
18 USCS 1961, 1962 (6) (c), 1964 (c), and 1961 (5) commonly referred to as
the Racketeer Influenced Corrupt Organization Act. Traudt also brings this
action pursuant to 18 USCS 4 (Misprision of a felony) with notice given of
the facts contained herein to the US Attorney’s Office, Burlington, VT, and
the United States Navy Judge Advocate General Division, Washington D.C.
Traudt is entitled to file this action at no cost because as a seaman, pursuant
to the Jones Act, filing fees are waived.

Plaintiff

1. Plaintiff Scott Traudt (“Traudt”) is a resident of Vermont now residing in
Orange County, town of Tunbridge, Vermont. He is a licensed US sailor
currently under contract to the US Navy Military Sealift Command, and.
holds the rating of Able-Bodied Seaman/Lifeboatman, and was at the
time and place of the injury to his person a commercial fisherman under
the auspices of 46 USCS 10601.
SEES Sree -00180-wks Document 1 Filed 06/25/03 Page 2 of 44

Defendants

2. Defendant F/V Luke and Sarah (“Luke”) is a commercial fishing trawler
homeported in Galillee, RI, owned in whole or in part by James Thayer
(“Thayer”) as a property of Wood Hollow Trawlers, Inc (“Trawlers”).

3. Defendant Neil Stoddard (“Stoddard”) is an insurance adjuster and/or
clams representative for Intermodal Transport Systems of Braintree,
MA.

4. Intermodal Transport Systems (“ITS”) is an insurance consultantcy
and/or claims investigation and adjustment company based in Braintree,
MA.

5. Sunderland Marine Mutual Insurance Company (“Sunderland”) is a
British company doing business in the US marine industry as a vessel
underwriter.

Venue

6. Traudt is a resident of Vermont and as a US seaman 1s legally entitled to
present this claim at any US federal court by virtue of original
jurisdiction. Parallel RICO claims nest in any US District Court by virtue
of original jurisdiction.

Facts

7. On or about March 24, 1997, while Luke was conducting fishing
operations in the North Atlantic, Traudt suffered a crushing injury to his
left middie finger while attempting to set the net of Luke.

8. Traudt was a searnan aboard the Luke at the time of his injury.

9. The proximate cause of Traudt’s injury was the fisherman operating the
controls of the Luke ’s hydraulic net reel feeding the net chains out too
fast, and allowing too much slack to build in the unsupported chain
causing Traudt’s left hand to be slammed into the port side stern when
the chain fell free over the stern of the Luke.
eaSeat-03-6V-00180-wks Document 1 Filed 06/25/03 Page 3 of 44

10. Luke did not return to port immediately after Traudt’s injury.

11.As an injured sailor, Traudt was entitled to maintenance, compensation,
and cure under the Jones Act.

12.Stoddard visited Traudt at Traudt’s home in Warwick, Ri on or about
April 1*, 1997 to discuss Traudt’s injuries.

13. Stoddard told Traudt he had a right to $15 a day maintenance and cure.
14.Stoddard possessed a black, palm-sized micro-cassette recorder.
15.Stoddard promised Traudt he would get all his lost wages after his injury.

16. Traudt was informed by Stoddard that as a member of the crew, he would
be getting fuil-share.

17. Traudt signed no fishing agreement with Luke pursuant to 46 USCS
10601.

18.Stoddard was acting as an agent for Hull and Cargo Surveyors, which
was the name of ITS before its corporate identity crisis.

19. Stoddard was not a member of the crew of Luke.
20.Stoddard is not an owner, official, or employee of Trawlers.
21.Stoddard is not an attorney.

22.Stoddard has stated under oath that he has handled over 1500 claims for
maritime injuries. Richards v. Relentless, 2002-2337, Deposition of Neil
Stoddard.

23.ITS began paying Traudt $15 a day maintenance for his injuries on or
about April 7, 1997.

24. ITS knew or should have known that the case of Smith v, US, 943 F.
Supp. 159 (DRI 1996) clearly made it federal law in Rhode Island that an
injured mariner was entitled to at the very least the actual expenditures
for his food and fodging while he was rehabilitated.
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25.Stoddard, as agent for TS, made no inquiries into Traudt’s actual
expenditures.

26.Stoddard has claimed he has no idea what maintenance is for. Richards v.
Relentless, 2002-2337,US Court of Appeals for the 1" Circuit, Brief of
Appellant, pg. 69. (Attachment A).

27.Traudt was treated for his injuries at South County Hospital and by Dr.
Mark Coppes of Wakefield, RI.

28.Stoddard did not advise Traudt he had a right to an attorney.

29. Stoddard advised Traudt that all Traudt was entitled to was $15 a day “by
law” to live on.

30.Stoddard stated to Traudt that Traudt “had gotten two big checks, and
that ought to hold you for a while,” indicating that these two paychecks
Traudt earned aboard the Luke were to provide for Traudt while Traudt
recovered from injuries.

31.Stoddard did not tell Traudt that Traudt had an unbeatable case in
admiralty for injuries aboard the Luke.

32. Stoddard did teli Traudt that he was entitled to maintenance at a rate of

$15 a day, and medical bills, but only mentioned lost wages when Traudt
asked him about them.

33.Stoddard later denied liability for Traudt’s injuries 7 months after he
sustained them, even though all crew members were aware or had
witnessed the accident. (Attachment B).

34. Stoddard, [TS and Sunderland’s denial of liability 7 months after the
injury constituted bad faith on their part, as they were in an immediate
position to make such a denial — as wrong and self-serving as it may have
been ~ no more than a month after Traudt’s injury.

35.The injuries Traudt sustained were of a permanent nature resulting m
disfigurement and loss of range of motion. (Attachment C).
——— Case -2:03-4v-901489-wks—Document 1 Filed 06/25/03 Page 5 of 44

36. Traudt settled the case without an attorney in December, 1997, for
approximately $16,800, under deep financial distress. (Attachment D).

37.Stoddard once cut off Traudt’s paltry $15 maintenance payments for
failing to appear at a physical therapy session due to unrelated illness.
(Attachment E).

38.Stoddard ts not a medically trained person, but reached and made a
medical conclusion to Traudt’s then-attorney Patrick Fayle that, because
Traudt had missed a doctor’s appointment, the injury to Traudt’s finger
(in which it was broken into approximately 8 parts plus fragments} was
not of a permanent nature. (Attachment E).

39. Traudt hired Attorney Patrick A. Fayle (hereinafter “Fayle”) to represent
him in an admiralty case arising from Traudt’s injury, at sea, aboard the
F/V Luke and Sarah on March 21, 1997. (Attachment F).

40.Fayle did not advise Traudt of His special rights as a “ward of the
admiralty.”

41.Fayle did not advise Traudt of any rights.

42. Traudt informed Fayle on numerous occasions that he could not live on
$15 a day. (Attachment G).

43.Fayle did not interview any witnesses to the injury to Traudt.
(Attachment H).

44. As part of the contingency fee arrangement, Fayle was supposed to work
diligently to protect my interests. Fayle did not.

45.As part of the contingency fee arrangement, Fayle was supposed to file
suit against the F/V Luke and Sarah. He did not.

46.As part of the contingency fee arrangement, Fayle was supposed to
interview witnesses, investigate the claims, handle medical evidence, and
bring a case to trial. He did not.
GEER OV-00180-wks Document 1 Filed 06/25/03 Page 6 of 44

47. Repeated requests as early as June 1997, to file suit, were denied by
Fayle. There are lengthy correspondences between Traudt and Fayle, as
well as phone records, which verify this fact.

48.Fayle did not ever familiarize himself with the Smith standard for 46
USCA 688 cases, nor did he do any legal research at all on behalf of
Traudt.

A49.Fayle repeatedly stated to Traudt (while he represented Traudt) that
negotiations were going well with the insurance adjuster. They were
going so well, in fact, that Fayle refused to commence suit despite
numerous pleas from Traudt to do so. He stated that when Traudt wanted
to sue he “was able to persuade Defendant to continue with the ongoing
settlement negotiations as they were proceeding well.” (Attachment I).

50.Fayle later said this in answer to the Rhode Island Supreme Court’s
Disciplinary Counsel in answering Traudt’s bar complaint against him:
"The fact that six months had passed since the Agreement [the retainer
agreement] had been signed was due to a combination of
unresponsiveness on the part of the insurance carrier...” (Attachment ¥)._

51.Traudt had been lied to by his own attorney repeatedly over the status of
the case.

52.Fayle’s sole involvement in this case could be aptly summarized to
include phone calls to the adjuster representing the vessel being sued, the
writing of several letters, and the return of phone calls to Traudt
explaining why suit wasn’t filed.

53. Traudt’s fired Fayle in late November, 1997, by a facsimile sent to his
office informing him that, basically, he wasn’t doing his job, and that his
lame excuses for not filing suit after 7 months were no longer to be
tolerated. This facsimile was also sent to an insurance adjuster — one Neil
Stoddard of Hull and Cargo Surveyor’s of Braintree, Massachusetts,
shortly after it was sent to Fayle.

54.Traudt’s geographic location (in Nevada) at the time of suit settlement
precluded him finding another admiralty attorney. They are rare in the
Sierra Nevadas, almost as rare as finding a competent admiralty attorney
in North Kingstown, Rhode Island.

Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 7 of 44

55.Traudt signed a “release” in San Francisco, California. It was signed
without a full knowledge of his rights in admiralty, under duress, without
counsel present, without adequacy of consideration. (Attachment D).

56. Traudt’s settlement amount of approximately $16,800 was significantly
less than what would have been achieved by competent legal services.

57.Traudt’s settlement amount is invalid due to the lack of adequacy of
consideration given Traudt.

58. Traudt has suffered @ financial loss of $50,000 in lost wages and between
$50-100,000 in payment for the disfigurement to his finger.

59.On or about August 1°, 2000, Traudt discovered in other litigation
against Fayle for breach of contract and legal malpractice that he was
rightfully entitled to a maintenance rate far greater than the $15 a day
Defendants made him live on.

60.The Federai Poverty Guidelines for 1997 state that $22 was the bare
minimum threshold at which “poverty” began. (Attachment K).

61.it is the pattern and practice of Stoddard, ITS, and Sunderland to “starve
out” injured seamen by paying them a rate that forces them to accept
ridiculously low settlements for injuries and/or to return to work myured
and/or to crush any potential litigation against them by stalling while an
injured party depletes the financial resources he’d need to survive while
in litigation.

62.It is the pattern of Stoddard, ITS, and Sunderland to pay a greater rate
than $15 a day to select injured individuals if such individuals can be
reasonably calculated to not proceed with litigation and/or assert his/her
federal maritime rights and priviledges and are quite content to be treated
only marginally better than the cargo aboard the Amistad.

63.The Jones Act was codified by Congress to preserve a strong pool of
American sailors skilled in the maritime trades who may be drew upon
for national emergencies- especially sealift emergencies — when
necessary.
/03 Page 8 of 44

64. Stoddard, ITS, and Sunderland, together and/or in concert with others,
deliberately design policies and actions to maximize profit at the expense
of US sailors and the US national security by starving out injured sailors.
Richards y. Relentless, supra, citing Pine v. Protection Marine
Insurance, Co., 454 ¥. Supp. 210, 225 (D. Ma 1978) affirmed in part
reversed in part 599 F 2d 10 (1* Cir. 1979).

65.Stoddard, ITS, and Sunderland, are neither employees, officials, owners,
or partners of Trawlers or Luke.

66.Stoddard, ITS, and Sunderland, knew or should have known that the $15
a day paid Traudt was below the federal poverty guidelines for 1997.

67.Stoddard, ITS, and Sunderland, knew or should have been aware of Smith
and Jones Act maintenance requirements for US mariners and in
particular to the then injured Traudt.

68. Sunderland has owners of commercial fishing vessels on its board of
directors.

69. The relationship between Luke and Traudt was one more akin to
fiduciary and beneficiary.

70.Stoddard, ITS, and Sunderland conspire to deny injured sailors their
nights under admiralty and the Jones Act.

71.Stoddard, ITS, and Sunderland have committed acts reasonably
calculated to harm injured US mariners.

72.Stoddard, ITS, and Sunderland have diminished the maritime reserve of
the US government by not “keeping injured sailors whole.”

73.Stoddard, ITS, and Sunderland have engaged in a pattern of racketeering
across state lines, in interstate commerce.

74 Injured US mariners forced to survive on $15 a day may suffer true
financial hardship that causes damage to their credit ratings with lenders.
ar $$ Ca se2:03-6v-00180-wks Document1 Filed 06/25/03 Page 9 of 44

75,Federal form SAF-186 regarding security screenings of newly hired
federal mariners precludes employment if one’s credit history is damaged
to a certain degree.

76. Trawlers did not pay Traudt a full share for either trip he made aboard
Luke.

77.Traudt was paid % share for both trips he made aboard Luke.

78.Stoddard informed Traudt prior to his retention of Fayle that all he was
entitled to only those wages he missed up until discharge from a doctor’s
care — but that he would get full share.

79.Court documents supplied to Traudt in a hearing of Fayle v. Traudt in
Washington County, Ri, on June 16" revealed for the first time to Traudt
that he was only paid % share for his time onboard Luke. (Attachment L).

80.Court documents supplied to Traudt in a hearing of Fayle v. Traudt in
Washington County, RI, on June 16" revealed to Traudt a pattern of
racketeering activity on the part of ITS, Stoddard, and Sunderland., when
this information was coupled with Richards testimony and other
investigations on the part of Traudt.

81.Court documents supplied to Traudt by Attorney Merlin O’ Keefe — in
particular, the deposition testimony of Stoddard in Richards — in May,
2003, initiated Traudt’s inquest as a “citizen attomey general” as
encouraged by the RICO statutes and enhanced. by Traudt’s special rights
as a “ward of the admiralty” under federal maritime law.

82. Traudt’s had agreed to the release only when told he was getting full
share (and in total ignorance of his other previously mentioned nghts).

83.Stoddard, ITS, and Sunderland committed repeated acts of fraud against
Traudt.

84.Stoddard, ITS, and Sunderland acted maliciously, wantonly, recklessly,
and tortiously against Traudt.
Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 10 of 44

85.Stoddard has directed injured mariners to Attorney Tom Hunt of New
Bedford, MA ~— and, upon information and belief, to no other attorneys,
as part of his control, command, conspiracy, knowledge, organization
and enjoyment of a racket within a racketeering activity.

86. The racket within a racketeering activity involves a) Stoddard initialing
contact with injured Rhode Island mariners (there are two known) as part
of his duties to ITS and Sunderland b) instructing these mariners to
contact Attorney Tom Hunt and/or supplying Hunt’s contact information
to them. Stoddard was the nexus of the liaison between Hunt and his new
clients; these injured satlors had no listed phone numbers and in one case
an injured mariner was living in a house where the girlfriend of the
injured sailor had her phone in her maiden name. One sailor had only a
cellphone; Hunt has no RI offices. By process of elimination, and noting
that contact information for these injured mariners put Stoddard with
both motive and superior knowledge to provide clients to Hunt, there
could be no other answer for the injured Galillee-based sailors to have
found this remote attorney.

87.The release Traudt signed with Trawlers is invalid as per recent rulings as
to seaman’s rights under admiralty in the 9” Circuit Court of Appeals,
and the general holdings with regards to suits in equity.

88. The defendant’s willful failure to pay maintenance while Traudt was
injured forced him to consume his savings to live, forced him to relocate
to less expensive housing, forced him to prematurely discharge himself
from a doctor’s care while still injured in order to meet the “available for
light duty work” clause of the unemployment insurance program as
administered in RI in 1997.

89.Stoddard informed Traudt in December, 1997, that a finger injury such as
Traudt’s usually was settled for no more than $15,000.

90. The true rate of crushed finger injury settlements varies between $75,000
to $150,000.

Count 1: Back pay.

Numbers 7 through 90 are hereby incorporated here by reference.

10
Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 11 of 44

91 Traudt was entitled to a “full share” of the wages aboard Luke for the two
trips he made on that vessel in 1997,

9? The amount referenced in Number 93, above, is $2475.09.
93 Traudt hereby makes demand for such back pay, with interest.

Count 2: Willful failure to pay maintenance.

Numbers 7 through 90 are hereby incorporated here by reference.

94 Traudt was underpaid maintenance by Trawlers for the duration of his
injury.

95 Traudt was and is due a total of $7825 in maintenance payments from the
date of his injury to his return to commercial fishing on February 1, 1998.

96 Traudt is entitled to triple damages based on Trawlers’ willful failure to
pay maintenance in the amount of $23475.

97 As a proximate cause of Trawler’s actions, Traudt has been damaged.
Count 3: Vessel unseaworthiness.
Numbers 7 through 90 are hereby incorporated here by reference.

98 The proximate cause of Traudt’s injuries was the negligent operation of
the vessel’s hydraulic net controls by a member of Luke ’s crew.

99 Wherefore: Traudt prays for the recovery of lost compensation in the
amount of between $35000-50000 (to be calculated from financial
information being supplied by Trawlers as a result of an order in Fayle v.
Traudt) for lost wages between March 24, 1997 and his return to fishing
on February 1, 1998.

Count 4: Tortious interference.

Numbers 7 through 90 are hereby incorporated here by reference.

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100 Stoddard interfered with the contract between Traudt and the
LukefTrawlers, and induced Luke/Trawlers to do acts it might not
reasonably be calculated to have done or have allowed done to Traudt
would that Stoddard properly informed Luke/Trawlers of their fiduciary,
admiralty, and Jones Act responsibilities to Traudt.

101 Stoddard interfered with the employment contract between Traudt and
Luke.

102 Stoddard has acted tortiously and maliciously towards Traudt.

103. As a proximate result of Stoddard’s acts and omissions to act, Traudt
has been damaged.

104 Wherefore: Traudt prays for compensatory damages in the amount of
$25,000 and punitive damages in the amount of $100,000.

Count §: Tortious conduct/illegal practice of law, ITS.

Numbers 7 through 90 are hereby incorporated here by reference.

105 ITS allowed and continues to allow its agent, Stoddard, to instruct —
and to instruct poorly — injured mariners in matters of law.

106 ITS allowed its agent, Stoddard, to instruct — and instruct poorly — the
injured Traudt in matters of law.

107 ITS has allowed Stoddard to practice law illegally and to advise
injured mariners in numerous cases, with harm resultmg. The harm is an
ongoing construct of ITS, Stoddard, and Sunderland.

108 As aproximate cause of ITS’ acts and omissions to act in not stopping
Stoddard — and in fact, condoning such behavior due to its vicious
profitability with the uneducated, “poor, friendless sailor” — Traudt has
been damaged.

109 Wherefore: Traudt prays for compensatory damages from ITS in the
amount of $50,000 and $500,000 punitive.

12
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Count 6: RICO/Stoddard
Numbers 7 through 90 are hereby incorporated here by reference.

110 Stoddard is a prime component and the central figure as the organizer,
manipulator, and ‘front man” of a Racketeer Influenced Corrupt
Organization as defined by 18 USCS XXX. .

111 Stoddard’s action violate the laws of the United States, are detrimental
to the US interest in that such callous care at his hands, his tortious
conduct, and his corruption provide much disincentive for mariners to
stay in this profession.

112 Stoddard knowingly and with malice handles injured mariners in such
a way as to keep himself, ITS, and Sunderland at optimal profits based on
his ability to starve out injured mariners by inhumanely low maintenance
payments, fraud, denial of claims, and bad faith.

113 Stoddard has perjured himself routinely in testimony under oath in
Richards.

114 Asa proximate cause of Stoddards’ acts and omissions to act in
furtherance of a RICO conspiracy, Traudt has been damaged by a RICO
conspiracy.

115 Wherefore: Traudt prays for compensatory damages in the amount of
$25,000, and the treble damages provided for by RICO, and costs and
reasonable attorneys fees for acting in loco Ashcroft.

116 Wherefore: Traudt prays for punitive damages in the amount of
$250,000.

COUNT 7: RICO/ITS
Numbers 7 through 90 are hereby incorporated here by reference.
117 ITS has provided material support, officing, operating capital,

transportation, legal cover, and other instruments of conspiracy for the
use of Stoddard together with and in concert with Sunderland and,

13
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potentially, other insurers acting as Sunderland has in the cases of Traudt
and Richards.

118 ITS is part of a RICO operation, and an intrinsic part at that.

119 ITS has acted wantonly and maliciously towards Traudt in allowing
and/or instructing Stoddard to misrepresent Traudt’s rights, starve out
Traudt at a knowingly illegal maintenance rate that “shocks the
conscience,” fraudulently inflate Traudt’s pay rate aboard Luke during
settlement negotiations, and to lie to Traudt about similar settlements for
similar injuries.

120 As a proximate cause of ITS’ acts and omissions to act in furtherance
of a RICO conspiracy, Traudt has been damaged.

121 Wherefore: Traudt prays for compensatory damages in the amount of
$25,000, and the treble damages provided for by RICO, and costs and
reasonable attorneys fees for acting in /oco Ashcroft.

122 Wherefore: Traudt prays for punitive damages in the amount of
$250,000.

COUNT 8: RICO/Sunderland

Numbers 7 through 90 are hereby incorporated here by reference.
123 Sunderland is a British-based multi-national corporation.

124 Sunderland was and continues to be engaged in a pattern of
racketeering activity with ITS and Stoddard.

125 Sunderland may not be aware, however of the “racket within a racket”
Stoddard is running with Attorney Tom Hunt in New Bedford, MA.

126 Sunderland seeks to maximize profits by flouting US admiralty law —
in particular, the maintenance rate paid injured sailors.

127 Sunderland’s pattern includes: directing adjusters (Stoddard in

particular) to starve out sailors on injuries, to make corporate awards to
adjusters who compete to keep claims as low as possible, to conduct

i4
Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 15 of 44

activities reasonably calculated to damage the pool of US sailors who
might be called upon to provide emergency Navy personnel or sealift
support in the event of a sealift crisis, and to encourage tortious conduct
as a viable claims adjusting tool.

128 As aproximate cause of Sunderland’s acts and omissions to acts in
furtherance of a RICO conspiracy, Traudt has been damaged as part of a
RICO activity.

129 Wherefore: Traudt prays for compensatory damages in the amount of
$25,000, and the treble damages provided for by RICO, and costs and
reasonable attorneys fees for acting in Joco Ashcroft.

130 Wherefore: Traudt prays for punitive damages in the amount of
250,000.

Traudt hereby demands a jury trial, reasonable attorney’s fees, and any other
relief this court deems necessary.

[hereby certify that a true copy of the foregoing was delivered and process
was completed by agent to Trawlers by and through Attorney Barbara J.
Mulholland, 380B Main St., Wakefield, RI 02879 and to Stoddard, ITS, and
Sunderland by and through the Rhode Island Insurance Commissioners

Office, Dep of Business regulation, 233 Richmond St., providence,
ee TEE 003.
OTT TRAUDT -

15
03-cv-00180-wks Document1 Filed 06/25/03 Page 16 of 44

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L2ichords y,
When that opportunity came, Richards made what use of it he could and this

exchange took place:

Mr. O'Keefe: You told me that you paid Mr. Richards

$15.00 maintenance?

Mr. Stoddard: That is correct.

Mr. O’Keefe: And you said that was a standard rate;

is that correct?

Mr. Stoddard: That is the rate we’re authorized to

pay.

Mr. O'Keefe: And that’s by Sunderland?

Mr. Stoddard: = That is correct.
Mr. O’Keefe: And what does that $15.00 a day encompass?

6
' Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 17 of 44

Mr, O'Keefe:

Mr. Stoddard:

Mr. O'Keefe:

Mr, Stoddard:

"Mr, O'Keefe:

Mr. Stoddard:

It’s maintenance.

And can you tell the ladies and
gentlemen of the jury what

maintenance is?

Maintenance, the right to maintenance is the right

accorded to seamen under general maritime law and
it’s just a daily rate that’s been set; and vessel
owners are required to pay that amount to seamen

when they’re not in the hospital.

And what is that amount suppose to

enable a seaman to do?

Lhave no idea.

- Well, isn’t it a fact that it is—it’s

supposed to be reimbursement for his

69
roooo_aars Document 1 Filed 06/25/03 Page 18 of 44

| Mr. Olenn:

Mr. Stoddard:

The Court:

! Mr. O’Keete:

Mr. Stoddard:

Mr. O’ Keefe:

actual expenditures for housing and

food?
Objection.
I don’t believe...

Sustained, and the answer may be

stricken.

Now you gave --you discussed legal a
lot of matters with Mr. Richards in the

particular case; correct?

That would be subject to interpretation.

I discussed matters with him.

Other than the $15.00 per day that Mr.
Richards was getting when he was as

70
r. Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 19 of 44

Mr. Stoddard:

Mr. O’ Keefe:

Mr. Stoddard:

Mr. Olenn:

The Court:

Mr. O'Keefe:

you said not on the ship and not in the
hospital, what other income did he

have coming in do you know?

T have no idea.

He wasn’t working on the ship?
No he was not.

Objection.

Sustained. The jury will disregard the

question and answers.

Did you make an inquiry to Mr.
Richards as to his actual expenditures

for living?

71
Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 20 of 44

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) Mr. Olenn: Objection.

The Court: Overruled.
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l

Mr. Stoddard: No. I did not.

Mr, O’Keefe: And this $15.00 a day was

designed to meet his living

expenses, is that correct?

Mr. Olenn: Objection.

The Court: Sustained. The Jury will disregard.

Mr. O’Keefe: Who instructed you to pay the $15.00 a

day, do you recall?

Mr, Stoddard: Specifically no I don’t recall. That’s
Sunderland’s policy.

72

Case 2:03-cv-00180-wks Document1 Filed 06/25/03 Page 21 of 44

Mr. O’ Keefe: Do you have an opinion

whether or not a person--
well, do you know where
Mr. Richards was living at
the time you interviewed
him at his parents’ home
and at the time leading up
to the signing of the

release?

Mr, Stoddard: He was living at his parents’ home in
Narragansett, Rhode Island.

Trial Proceedings of 12 September, 2002 at ]15-117, App. 154-156.

(Emphases Supplied)

Given Mr. Stoddard’s admission that he did not know what the fifteen-dollars
($15.00) a day in maintenance was supposed to enable a seaman to do and not |
making any inquiry as to actual expenditures there is no way he could have

“fulfilled his obligation to bring home to the Plaintiff an understanding of the rights

“a5

_Gase 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 22 of 44

SoS @ patrick A. FAYLE e@ COPY

ATTORNEY AT LAW
2358 SOUTH COUNTY TRAIL : TEL (401) BE OO
EAST GREENWICH, RI 02818 he NYQAS FAX (401) 886-51

[>

November 4, 1997

Mr. Scott Traudt
P.O. Box 3098
Winnemucca, NV 89446

Re: Personal Injury ICO Scott C. Traudt (3/21/97)
Dear Scott:

I spoke with Hull & Cargo’s representative, Neil Stoddard, today after receiving their
most recent letter yesterday in which they, among other things, increased their offer to settle
this matter via payment to you of the sum of $14,687.00. Their position, as near as I can
understand it, is that there is no liability because there was no unseaworthy condition, no
negligence, etc. In fact, Mr. Stoddard quoted from your statement to him (a copy of which
has not yet been provided to me) in which you have allegedly corroborated the foregoing.
Obviously if you said those things if 1s not going to be particularly helpful, but if we could sill
get a settlement in the amount you feel is adequate this could obviate the necessity of ever
litigating the liability issue.

In this regard and with reference to my letter to you dated September 24th, I propose
the following, that is, that we go back and tell them what our “bottom line” is, for example,
$30,000.00 (you tell me the figure keeping in mind thé figures set out in the aforementioned
letter). We see what they have to say and that is the last of it.. If their counter is not
sufficient, no more negotiating.

Sipgerely,

hi,
—— Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 23 of 44

South County Orth Medics josepn Be Statens MS
; + Robert CO. Marchand. SEL

& Physical Therapy, Inc. says. ura. 50

Miark A. Coopes, SID

Mark A. Coppes, M.D. PT: Scott Traudt
DOB:

3/25/97: Scott is a 31 yo. white male who was working 4 days ago for a fishing boat
and sustained an injury to the left hand with a chain. Apparently, this caused his
hand to be struck bluntly and he heard an audible snap and had immediate pain in
the left middle finger in the proximal phalanx region. He was out to sea for a total
of 3 days and supported it with ice, elevation and decreased use. He presented to the
ER at SCH on 3/25/97 at 1:28 am. He was arranged at that time to be seen today.

EXAMINATION: The pt. appears in his normal state of health with his left hand in
a volar splint. Exam of the wrist and metacarpal region shows he is nontender to
palpation. There is some dorsal soft tissue swelling noted with no evidence of any
significant increased warmth or streaks. There is no break in the skin or level of
excoriation. He is tender to palpation over the proximal phalanx. The MCP at the
collateral ligament attachment does not have any significant tenderness. The PIP
joint was not probed for continuity through ROM due to the intra-articular
involvement. The remaining digits are all nontender to palpation. Neurovascular
exam is intact.

X-RAYS: Taken in the ER showed a comminuted, complex proximal phalanx fx.
which extends into the PIP joint. On the lateral views, there is no significant
angulation noted. On the AP view, there does not appear to be any deviation from
alignment. There is, however, a small level of PIP intra-articular involvement, but

it appears to be less than 1 mm.

PLAN: A discussion was carried out with the pt. concerning the best treatment plan.
I fee] at this point in time if alignment is maintained, operative intervention is not
necessary. Perpendicular to the middle phalanx itself was then performed with an AP
radiograph to determine whether or not the intra-articular involvement was greater
and it appeared to be similarly stable less than 1 mm. He was then placed into a
short arm gauntlet cast with extra protection over the aluminum outrigger. He will
be seen back in 10 days for reevaluation. I have discussed with him to keep this
extremity elevated and to report to us if he has any problems with soft tissue swelling

or neurovascular compromise.
MAC/dlh

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Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 24 of 44

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Soura Councy OrthoPedics Joseph 8 Prexersid. Nib

Robert C. Viarchand. MD

Xx Physical Therapy, Inc. paid 3. Burm, DO

Mark A. Coones. MED

(ing Fics seret

David B. Burns, D.O. PT: Scott Traudt
DOB: 10/24/65

3/31/97: Scott presents for evaluation. Apparently, he has had complaints of pain
over the finger recently and is concerned about some blackness in the hands. He is
concerned that the cast may be too tight, I have talked to him over the phone and he
would prefer that he was evaluated.

EXAMINATION: The cast and splint appear to be satisfactory. There is no evidence
of tightness. Apparently, the pt. had a short episode of decreased sensibility over the
little finger which has resolved. Neurosensory exam is benign. There ts ecchymosis
diffusely over the digit, but that is expected due to the amount of trauma due to the
crush injury.

PLAN: Scott will ffu again as suggested by Dr. Coppes. He additionally has some
back complaints. I have reviewed with him some exercises that would be helpful for

this and he will f/u with Dr. Coppes to review this at more length.
DBB/dih
cc: Workers’ Compensation

—

A/A/O7: Scott is seen for f/u. He had seen Dr. Burns last LO with complaints of
swelling in the hand and decreased sensation.

EXAMINATION: Shows that he has normal sensation. There is no significant
discoloration or soft tissue swelling. He has stated that the pain has decreased
significantly. He has some other secondary complaints mostly having to do with the
cast immobilization. Of the remaining part of the hand and forearm, there is no
evidence of any excoriations or open areas.

X-RAYS: AP and lateral in the splint show that the joint space at the PIP level
appears to be well-maintained without any articular offset. The overall alignment,
both on the AP and lateral, appears to be satisfactory without any significant change.
IMPRESSION:

PLAN: We will keep him immobilized for an additional ten days and see him back
then for x-rays out of plaster.

MAC/egp
:03-cv-00180-wks Document1 Filed 06/25/03 Page 25 of 44

. . : Joseph B. Fitzgerald. MI
South County Orthopedics eee

& Physical Therapy. Inc. pavigB. Burns. DO
> Mark A. Copess. MD
One High street
> Wakefteld, RE 22879
Tel. 401.789.1422
| Pax. 421.782.6810

Mark A. Coppes, M.D. PT: Scott Traudt
DOB: 10/24/65

4/16/97: Scott is seen for f/u. He had sustained a proximal phalanx fx. of the left
middle finger. He was taken out of his gauntlet splint.

EXAMINATION: The skin appears to be slightly dry and macerated but otherwise
intact. He is nontender over the proximal phalanx of the middle finger. He has
gentle motion of the DIP, PIP and MCP joints and no evidence of any fx. mobility.

X-RAYS: AP and lateral of the proximal phalanx show good alignment of the fx.
fragment despite the comminution with some good callus. There is no loss of
alignment on the AP or lateral and no extension into the articular surfaces.

PLAN: I have given Scott an aluminum splint and have set him up to see the PTs
downstairs for ROM and strengthening exercises, particularly targeted to the middle
finger PIP and MCP joints. We will see him back in 10 days to 2 wks. for
reevaluation.

MAC/dih

ce: Workers’ Compensation

4/30/97: Scott is seen for f/u of a proximal phalanx fx. of the middle finger.

BXAMINATION: He has ROM in the MCP of 0-80°, a 15-20° extension lag of the
PIP to flexion of 85°, and DIP has full ROM at 0-35° with a total active motion of
200° out of 240°. Clinically he is well healed. He has stable collaterals. He is
nontender over the fx. site.

X-RAYS: AP and lateral show some volar abundancy of callus but otherwise good
anatomic alignment.

PLAN: I have discussed with Scott that we will allow him to continue with PT fur
an additional 10 days and then see him back for final motion check. At that point in
time, I would expect him to probably be able to return to full activities.

MAC/dlh

cc: Workers’ Compensation

[

:03-cv-00180-wks Document1 Filed 06/25/03 Page 26 of 44

. 4 | Robert C. Marchand, VE
& Physical Therapy, Inc. © pavid B. Burns, DO
Mark A. Coppes. MD

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Wiiokoeiadhd BE tIetY
Wasetield, RYE Tisctu

Mark A. Coppes, M.D. PT: Scott Traudt
DOB: 10/24/65

5/14/97: Scott is seen for f/u.

EXAMINATION: His finger with the proximal phalanx fx. still shows a slight
extension lag of about 15°. He is able to flex it to near 90°. The MCP is 0-85° and
the DIP is 0-45°. He does not feel that his grip strength has adequately returned to
normal which would be necessary to go through the rigors of his job which is handling
up to 50 Ibs. in that one hand with chain manipulation.

PLAN: I feel he will probably be ready within 2 wks. I have told him to aggressively
work at grip strength exercises and we will see him in 2 wks. for reevaluation. He
will see Kristen downstairs for grip strength monitoring today and prior to the next
appointment.

MAC/dih

cc: Workers’ Compensation

fe .

5/28/97: Scott is seen for f/u. He has been working with PT and has increased his
grip strength.

EXAMINATION: The fx. is well healed. He has the ability to close his fist, and when
he extends, he has about a 10° lag at the MCP due to the fx. of the proximal phalanx.

PLAN: I think Scott has improved significantly enough to return to work. We will
see him back in 1 mo. and make a final determination of his ROM to see if there is
any long-term discrepancy.

MAC/dIh

cc: Workers’ Compensation

LL
Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 27 of 44

| South County Orthopedics | Joseph 8. Fiezgerald
: PI i The 1 Robert C. Marchane
: & rysica cr apy, NC. | Havid 8. Burns, DO

Mark A. Cuppes, MI

One Hip Screct
Wakefivld, RT 02879

Tel, 401.789.1422
Fax. 464,.782,6810

Mark A. Coppes, M.D. PT: Scott Traudt
DOB: 10/24/65

8/13/97: Scott ia eeen for f/u exam for his left middle finger and for a new complaint
of right wrist fx. He had bean out in Nevada, apparently injured hia right wrist, and
had been seen by a local orthopedic surgeon who casted him. At that time, he had
complaints of mid carpal pain.

| EXAMINATION: The cast was removed and palpation over the distal radius, distal

radioulnar joint and ulnar styloid is negative. The proximal carpal row, radioscaphoid

ligament, scapholunate, lunotriquetral, and TFCC regions are nontender, There is
some minor tenderness in the capitate region in its mid portion but otherwise
unremarkable for the remaining carpometacarpal articulations. He has ROM of the
left 4th finger from 0-70° at the DIP, 15° extension lag although passively able to go
to 0-90° at the PIP, and 0-100° at the MCP.

| X-RAYS: In plaster do not show any evidence of abnormalities, Radiographs out of
| plaster show what appears to be a hairline fx. through the capitate in a diagonal type
distribution. There does not appear to be any displacement and thia is also visualized
on the lateral, as well. Radiographs of the 4th middle finger show good alignment on
both the AP and lateral views with no significant angular deviation.

PLAN: I have discussed with Scott that I think that continued immobilization for the
presumed capitate fx. would be beneficial. As he is returning to Nevada, I will allow,
hia final care to ba rendered there. A short arm cast was applied. In reference to his
left 4th finger fx., I feel he has reached a satiefactory conclusion. and has a small 15°
extension lag but otherwise haa probable complete ROM in a functional aspect. We
will see him again on a p.r.n. basis.

MAC/dih
Case 2:03-cv-00180-wks Document1 Filed 06/25/03 Page.28 of AA.

"Olle dn Lg @
THIS IS A GENERAL RELEASE

WARNING — READ CAREFULLY every word printed or written on both sides of this
paper. By signing this poper YOU AGREE to give up every right ogainst ail the parties
and vessels mentioned in this paper which you ever had, you now have, or you may in
the future have because of any matter or anything which ever happened from the be-
ginning of the world up to the time you sign this paper.

I, .. SS coke Cc. coe ( Codd Meee. Age : > To

j (Write your own name and a

Married or Single . SV 2 aaron, G6 \S. . "SOAS WS heey Cig {J (7

in exchange for the sum of Fighteen Thousand Nine Hundred Sixty-~one---~------- Tot WY

Dollars and. 50/100 . Cents ($ 18,961.50**% lawful money of the United States of America
which I have received, do hereby... cel OG. SE. Slee eee wees... ,, and forever

(Write the word “release” to show that you know whet you are doing)
discharge Woodhollow Trawlers, Inc.; F/V Luke & Sarah (ON 906149); Sunderland
Marine Mutual Insurance Company Ltd.; Salvus Bain (Management) Ltd.;
Royal Insurance; Ocean Marine Underwriters, Inc.; Hull and Cargo Surveyors, Inc./
USP&L Agency, their
heirs, executors, administrators, successors and assigns, and all his or their vessels and in par-
ticular the F/V LUKE & SARAH (ON 906149)

and the owners, operators, agents, charterers, masters, officers, and crews, of said vessels of
each and every right or claim whieh I now have, or may hereafter have, because of any matter
or thing which happened before the signing of this paper: and particularly, but not only
because of an injury to left middle finger while onboard the F/V LUKE & SARAH
while at sea on or about March 22, 1997,

THIS 1S A RELEASE

I know that in signing this release I am taking the risk that I may have other injuries,
illnesses or disabilities that I do not now know of from the particular occurrence described
above or from some other occurrence before the signing of this paper. I also know that I am
taking the risk that the injuries, illnesses or disabilities I do know of may be or may turn out
to be worse than they now seem to me or to the doctors I have seen. I take all these risks.
I know I am giving up the right to any further money. I am satisfied.

I understand and agree that the money paid te me now is received by me in full settle-
ment and satisfaction of all claims and demands whatsoever.

The following is to be filled in by the Claimant himself in his own handwriting, if he can write.
1. Have you read this paperf A.. UA ed Fee

(Write here either “Yes” ot “No")

3. Do you know what this paper is that you are signing!, A.. ~4. ft teen en
4 {Writhere either “Yes" or “No"}

4. What is this paper which you are signingt A... ASXU2 GVO.

2. Has this paper been read to yout A. . \494) nec e ct e ee veces

5. Do you know that signing this paper settles and ends EVERY RIGHT AND CLAIM
YOU HAVE FOR DAMAGES AS WELL AS F B PAST, PRESENT AND FUTURE
MAINTENANCE, CURE, AND WAGES? A. | 4 | » 4ST OO
uiscHUSS CwoQanevi001SfawiersDamenent,] sdhuked &Gbabdos  URageo2 2.01; 4 4unaersana
Marine Mutual Insurance Company Ltd.; Salvus Bain (Management) Ltd.;

Royal Insurance; Ocear@prine Underwriters, Inc.; Hull @ Cargo Surveyors, Inc./
USP&I Agency, their

heirs, executors, administrators, successors and assigns, and all his or their vessels and in par-
ticular the F/V LUKE & SARAH (ON 906149)

and the owners, operators, agents, charterers, masters, officers, and crews, of said vessels of
each and every right or claim which I now have, or may hereafter have, because of any matter
or thing which happened before the signing of this paper: and particularly, but not only
because of an injury to left middle finger while onboard the F/V LUKE & SARAH
while at sea on or about March 22, 1997.

THIS 18 A RELEASE

I know that in signing this release I am taking the risk that I may have other injuries,
illnesses or disabilities that I do not now know of from the particular occurrence described
above or from some other occurrence before the signing of this paper. I also know that I am
taking the risk that the injuries, illnesses or disabilities I do know of may be or may turn out
to be worse than they now seem to me or to the doctors I have seen. I take all these risks.
I know I am giving up the right to any further money. I am satisfied.

I understand and agree that the money paid to me now is received by me in full settle-
ment and satisfaction of ail claims and demands whatsoever.

The following is to be filled in by the Claimant himself in his own handwriting, if he can write.

1, Have you read this paperf A.. OW. J eee eee
(Write here either ' “Yes” or “No")

2. Has this paper been read to yout A. Wo ee
(Write here either "Yes" or “No”)

3. Do you know what this paper is that you are signin ", A.. -
7 PAP y ging we aie either “Yen” or "No" "y

4. What is this paper which you are signing! A... AD i A, NO? ee

5. Do you know that signing this paper ceetiee and ends EVERY RIGHT AND CLAIM
YOU HAVE "FOR DAMAGES AS WELL LAS FO RP ST, PRESENT AND FUTURE
MAINTENANCE, CURE, AND WAGES!

ni} here elther “Yes” or “No”)

THEREFORE, I am signing my name near the ‘seal to show that I understand and mean
everything that is written by or for me on this paper.

I am signing this of my own free will. 519 0...

Cicimant, if he wishes to sign, should write his name upon the words
“THIS IS A RELEASE” immediately abcve.

Case 2:03-cv-00180-wks Document 1 Filed 06/25/03--Page-30-0f 44
Certificate of Witnesses

We, the undersigned, do hereby certify that the Release on the reverse side of this paper

was executed in our presence and that said Claimant acknowledged that... re fully
Che or she)
understood its contents and meaning and executed the same as... his Denes free act and deed
this or her)

and for the sole consideration therein expressed.

Wiryékss or int seals on the day, month and year aforesaid.
rl 4 Sb. SE cA 1G ARTE
Do

(Address)

Acknowledgment Before Notary Public or Commissioner of Deeds

STATE OF

County or

On the date of the execution of the Release on the reverse side of this paper before me
personally came said Claimant, known to me to be the individual described in and who executed
this Release, and acknowledged that... _.. fully understood its contents and meaning and duly

executed the same as........ free act and deed and for the sole consideration therein expressed.
(his or her)

(Seat Requinep)

Certificate of Interpreter
I hereby certify that the Release on the reverse side of this paper was executed in my
presence by said Claimant and that J correctly and accurately translated the entire Release
from the English language into the mother tongue of said Claimant and... __. acknowledged |

the or she}
act and deed and for the sole consideration therein expressed.

I ereerarres -
ADDRESS
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joa SP

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(Sea) OS El. Dovaalo.#1b7, 04K lid %elZ trle/4

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fePe (Sear)/2/ MIME Berne, At CV, Of bp Blofp 27

(Address}

Acknowledgment Before Notary Public or Commissioner of Deeds

STATE OF 0 eee eee
55. :

County or

On the date of the execution of the Release on the reverse side of this paper before me
personally came said Claimant, known to me to be the individual described in and who executed
this Release, and acknowledged that........ fully understood its contenta and meaning and duly

executed the same as........ free act and deed and for the sole consideration therein expressed.
(his or her)

(Sear Requirep}

Certificate of Interpreter
I hereby certify that the Release on the reverse side of this paper was exeeuted in my
presence by said Claimant and that I correctly and accurately translated the entire Release
from the English language into the mother tongue of said Claimant and. .._. acknowledged

that... fully understood its contents and meaning and executed the same as....... free
the or she) this or her)

act anc deed and for the sole consideration therein expressed.

nercantary
ADDRESS...

Certificate of Person Who Reads Release to Claimant
I hereby certify that before the Release on the reverse side of this paper was executed —

by the Claimant, I correctly read the entire Release to the Claimant and. fe. _. acknowledged

ke . (he or she)
that ="... fully understood its contents and meaning.

the or she) Qe, ~ ( . ao —_——_
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Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 32 of 44

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ATTORNEY AT LAW

2358 SOUTH COUNTY TRAIL

EAST GREENWICH, RI 02818 TEL (401) 886-5004

FAX (401) 886-5101

July 22, 1997

Mr. Scott Traudt
P.O. Box 3098
Winnemaka, Nevada 8946

Re: Personal Injury ICO Scott C. Traudt (3/21/97)
Dear Scott:

I am sorry I missed your telephone calls yesterday. Having you out west is not particular!
condusive to moving this case along. However, I do think we can get some sort of settlement o1
of the insurance people, hopefully, in the near future. It is my understanding that you did ne
make your June 20th follow-up with Dr. Coppes. Consequently, he has you fit to return fro1
work as of May 28, 1997. Please advise if you have seen any other doctors who think otherwis«

Once you get a telephone, let me know the number. Lastly, as you can see, | have moved.

Keep in touch.

Lad
bel y
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Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 | 33 of 44

yawns A REEMENT

prosecute any and all of the claims against any person or persons, entity or entities

responsible for injuries and/or damages sustiined in an accident at sea which occurréd ©
» on board F/V LUKE AND SARAH on or about March 21, 1997 and for injuries
- sustained, maintenance and ‘cure, and disability arising therefrom.

* The Attorney will investigate the claims, initiate demand, prosecute the clain. =.
’ attempt to settle the claims in the Client's uiterest. In the event that settlement. »

» forthcoming, the Attorney will institute legal action and/or enter into legal ..

® already filed, and prosecute that suit to conclusion.

§ FEES: The Attorney, shall receive as his fee One-Third (1/3) of any pross rec:

The Attorney is hereby given a lien for his tees and advances upon any: settle -
judgment or award made or secured herein. [f no recovery is obtained, the At -

.

' will receive no fee. The contingent fee set forth above is not set by law, but is negotiable

between the Attorney and the Client. The Attomey is given a lien on the claim or cause

errr PRMD!

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© of action, onany sum recovered by way of settlement, and on any judgment that may be
recovered, for the sum and share mentioned ¢bove, as the firm's fee for costs expended.

COSTS: The Client will reimburse any costs expended by the Attorney, including, but
not limited to, costs of investigators and other experts at the time such costs are
incurred. Such investigators and other exper:s may be employed at the discretion of the
Attomey. Amy costs chargeable to the Client and not paid when incurred shall be
deducted from Client's share of the recovery alter the deduction of the Attorney's fees.

EMPLOYMENT OF EXPERTS AND INVESTIGATORS: The Attomey, in his
discretion, may employ experts to examine ‘2¢rsons or property involved in this matter.
The Attommey may also, in his discretion, employ expert investigators to investigate the
facts surrounding this matter. All such expert; shall report exclusively to the Attomey.
’ Fees charged by such expert witnesses and investigators are costs as set forth above.

» FAVORABLE OUTCOME NOT WARRANTED: The Attorney makes no warranties
or representations concerning the successful :ermination of these.claims or the favorable
outcome of any legal action that may be filed und does not warrant or guarantee that the

Attorney will obtain reimbursement for the Client of any of his costs or expenses _
’ resulting from the personal injuries out of which the claim arises.

POWER OF ATTORNEY TO EXECUTE DOCUMENTS: The Client hereby gives the

. Attorney power of attomey to execute all Cocuments connected with the claim for

ay $-

- SCOTT C. TRAUDT ("the Client"), hereby retains ATTORNEY PATRICK FAYLE
{; ("the Attorney"), to represent the Client and do such things necessary and proper to”
oD VD VOB VB VD VBURB UR VD UA8 08 05 C8 0046 8 OF CHEER EAY

Case 2:03-cv-00180-wks Document1 Filed 06/25/03 Page 34 of 44

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prosecution of which the Hp is retained, cluding pleadig}. contracts, commercial
paper, verifications, dismissals, orders, and <ll other documents that the Client could

‘ properly execute; no dismissal or settlement of client's cause of action will be made

without the consent and approval of the Client.

I have read and agree to this Retainer Agreement and hereby acknowledge receipt of a
copy.

THE QLIENT "ot THE ATTORNEY

fu.
DATE: Sly G7 pate: A514

r Tr 7 To

Case 2:03-cv-00180-wks Document1 Filed 06/25/03 Page 35 of 44

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us eeset Li: 44 “Giue Veo D400 HUADYVLUL LISNAKY Ww i

Arico GL &8_ SOO

July 29, 1997
Patrick:
Got your letter...here’s some things to note-

(Iwas discharged by Dr. Coppes on May 23 because I had to. Since Stoddard and his band of
bloodésiicking bourgeoisie capitalist pigs had cut off my massive $15 a day maintenance, and
refused compensation, and my TDI was exhausted, the only means of official income I had was

to get unemployment. And to qualify, you “available to work.” My finger isn’t healed,
and it still throbs out here in the desert. Casked to be sche eon I had no choice.
2. I blew off the June 28th appointment becatise Coppes told me it was just to measure my range
of motion, which is quite diminished. IT IS ACTUALLY WORSENING OUT HERE, AND THE
PAIN IS MORE PRONOUNCED. I have an appointment 13 AUG with Coppes back in RI. I will
be in RI from 11 AUG to 17 AUG.
3. Business may once again take me back to the Mideast in September. may be gone and
unreachable for a couple of months...this brings me to point 4.
4. The word at the docks is that these finger injuries usually settle at around $40,000. If there is
no settlement offer at this amount by 10 AUG, you are to sue. $75,000 compensatory and
$150,000 punitive. We can get my deposition in when J am home.

1m here in Winnemucca for the immediate future. ’'ve got my decks cleared for four

- weeks because I broke my right arm being a hero against the Navy’s EOD softball team from

Fallon, NV. We can use my down time to resolve this case and settle, or we can get my
involvement out of the way and proceed to trial.

Show me the money,

Scott Traudt

POB 3098
Winnernucca NV 89446
(702) 623-9902
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Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 . Page 36 of 44

result of an injury he Oa inec aboard F/V LUKE. AN@sAraH in March of
1997? On what date? Where?

ANSWER: . Yes; On May 14, 1997; In my then offices located at 1130
Ten Rod Road, North Kingstown, RI.

4. Did you live up to the terms of this Agreement?
ANSWER: Yes. &

5. Did you ever file suit on Traudt’s behalf in the matter described in #37
ANSWER: No.

6. Did you ever interview witnesses in the matter described in #3?

ANSWER: No.

7. Did you ever visit the vessel described in the matter described in #3?

ANSWER: No.

"8. How many times did Traudt instruct you to sue the F/V LUKE AND

SARAH?

ANSWER: I do not recall specifically the number, however, each and _.
every time the Defendant and I discussed filing suit I was able to persuade’
Defendant to continue with the ongoing settlement negotiations as they were, in’
my opinion, proceeding well under the circumstances. This ‘was because,
Defendant was in Nevada at the time and J had difficulty communicating with.
him. I would note that records of any and all communications with Defendant:
during this period have been available to Defendant in my offices since December
23, 1998. These records have not been mailed to Defendant as they include x-
rays which I did not think should be placed in the mail.

9. How many times did you receive correspondence from Traudt instructing
you to sue the F/V LUKE AND SARAH?

ANSWER: I do not recall, however, each and every time the Defendant
sent such correspondence I was able to persuade Defendant to continue with the

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Case 2:03-cv-00180-wks Document 1 Filed 06/25/03..,,.Page.37 of 44

ongoing settlement negoMions as they were proceeding &. This was because,
as noted above, Defendant was in Nevada at the time- and I had difficulty
communicating with him. I would note again that records of any and all
communications with Defendant during this period have been available to
Defendant in my offices since December 23, 1998. These records have not been
mailed to Defendant as they include x-rays which I did not think should be placed

in the mail.

10. How many times did you talk with Traudt on the phone and Traudt
instructed you during those conversations to sue the F/(V LUKE AND SARAH?

ANSWER: I do not recall, however, each and every time the Defendant
and I spoke on the telephone I was able to persuade Defendant to continue with
the ongoing settlement negotiations as they were proceeding well. This was
because, aS noted above, Defendant was in Nevada at the time and I had
difficulty communicating with him. I would note that records of any and all
communications with Defendant during this period have been available to
Defendant in my offices since December 23, 1998. These records have not been
mailed to Defendant as they include x-rays which I did not think should be placed

in the mail.

11. Were you aware that as a result of Traudt’s injuries he could not work for a
certain period of time?

ANSWER: I do not recall if there was a period of time that Defendant was
totally incapacitated for work as a result of the injuries suffered on board F/V
LUKE AND SARAH. I do know that sometime in June of 1997 Defendant
informed me he was going out west to work and that in July of 1997 Defendant
apparently broke his right arm playing softball. He may have been unable to
work after that incident for a period of time.

12. Were you aware that under Admiralty Law and the Jones Act, Traudt
could recover damages for his injuries?

ANSWER: Yes.

13. How many hours did you spend on Traudt’s personal injury case against
the F/{V LUKE AND SARAH between the time you were retained by him until

the time he fired you in late 1977?
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14. Fayle did not file suit on behalf of Traudt. (Appendix F: Fayle Answers to Interrogatories,
Number 5, dated March 11, 1999). a

Fayle: Plaintiff admits that he did not file suit and the simple reason for that was that
settlement negotiations were still ongoing at the time Defendant terminated the services of
Plaintiff, Plaintiff would note that, after terminating Plaintiff, Defendant had every right to
hire another attorney to file suit on his behalf as the statute of limitations did not expire until
on or about March 20, 2000. Instead, Defendant took the easy way out and settled this matter
for a mere $2000 over the settlement figure negotiated by Plaintiff. Defendant's argument
that his financial situation required a quick settlement belies the fact that he supposedly
found employment I Nevada and that he had already been able to exist for some 20 months
since suffering his alleged injury;

Comment: Fayie repeatedly stated to Traudt that negotiations were going well with the
insurance adjuster. They were going so well, in fact, that Fayle refused to commence suit
despite numerous pleas from Traudt to do so. He stated that when Traudt wanted to sue he
“was able to persuade Defendant to continue with the ongoing settlement negotiations as

they were pro ing well.”

He later said this in answer to the Rhode Island Supreme Court’s Disciplinary Counsel in
answering Traudt’s bar complaint against him: “The fact that six months had passed since the

Agreement {the retainer agreement] had been signed was due to a combination 0,
unresponsiveness on the part of the insurance carrier..." (Appendix I: pg. 4, para. 2)
oe _

As for the rest of Fayle’s assertions, he again demonstrates a remedial need for mathematics;
Traudt was not working for 20 months in Nevada at the time he fired Fayle. Traudt had been
there from approximately June 25" to December 1*, 1997, which adds up to 6 months.

Assuming, arguendo, that Traudt could have hired another attomey, Fayle is chailenged here

to prove that an admiralty attorney could’ve been found in Winnemucca, Nevada — a cattle
town in a desert state located in the mountainous southern ranges of the Sierra Nevadas.

15. Fayle did not interview any witnesses to Traudt's injury. (Appendix F).

Fayle: Plaintiff agrees that he did not interview any witnesses to Defendant's injury, that is,
assuming of course that such an injury took place aboard the vessel;

16. Fayle did not ever visit the vessel Luke and Sarah. (Appendix F).
Fayle: Plaintiff agrees that he did not visit the F/V LUKE AND SARAH;

17. Traudt repeatedly told Fayle to commence suit in this matter. (Appendix G: June 21" , 1997
letter from Traudt to Fayle; Appendix H: July 29, 1997 letter from Traudt to Fayle)
Case 2:03-cv-00180-wks Document1 Filed 06/2

1997 Federal Poverty Guidelines.

THE 1997 HHS POVERTY GUIDELINES
One Version of the [U.S.] Federal Poverty Measure

[ Latest Poverty Guidelines ] .
{ Summary Figures and Federal Register R: Ss — i 82 j
{ Information Contacts/References — Poverty Guidelines & Ids — Also Hi P Lines ]

[ Is There a Single Definition of “income” That is Used with the Poverty Guidelines? }
There are two slightly different versions of the federal poverty measure:

e the poverty thresholds, and
e the poverty guidelines.

The poverty thresholds are the original version of the federal poverty measure. They are updated each
year by the Census Bureau (although they were originally developed by Mollie Orshansky of the Social
Security Administration). The thresholds are used mainly for statistical purposes — for instance,
preparing estimates of the number of Americans in poverty each year. (In other words, all official
poverty population figures are calculated using the poverty thresholds, not the guidelines.) Poverty
thresholds since 1980 and weighted average poverty thresholds since 1959 are available on the Census
Bureau's Web site.

The poverty guidelines are the other version of the federal poverty measure. They are issued each year
in the Federal Register by the Department of Health and Human Services (HHS). The guidelines are
a simplification of the poverty thresholds for use for administrative purposes — for instance,
determining financial eligibility for certain federal programs.

The full text of the Federal Register notice with the 1997 poverty guidelines is available here.
The poverty guidelines are sometimes loosely referred to as the "federal poverty level” (FPL), but that
phrase is ambiguous and should be avoided, especially in situations (e.g., legislative or administrative)

where precision is important.

A more extensive discussion of poverty thresholds and poverty guidelines is available on the Institute
for Research on Poverty's Web site.

1997 HHS Poverty Guidelines

Size of 48 Contiguous
Family Unit States and D.C. Alaska Hawaii

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ae 1997 Federal Poverty Guidelines” Document 1 Filed OGhet5/Qe .

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4 1 $ 7,899 S$ 9,870 8 9,070
2 10,610 13,2790 12,200
3 13,330 16,670 15,330
4 16,9050 20,070 18, 460
5 18,770 23,470 21,590
6 21,490 26,870 24,720
7 24,210 30,270 27,850
8 26,930 33,676 30,980

For each additional
person, add 2,720 3, 400 3,130

SOURCE: Federal Register, Vol. 62, No. 46, March 10, 1997, pp. 10856-10859.

The separate poverty guidelines for Alaska and Hawaii reflect Office of Economic Opportunity
administrative practice beginning in the 1966-1970 period. Note that the poverty thresholds — the
original version of the poverty measure —- have never had separate figures for Alaska and Hawaii.

The poverty guidelines apply to both aged and non-aged units. The guidelines have never had an
aged/non-aged distinction; only the Census Bureau (statistical) poverty thresholds have separate figures
for aged and non-aged one-person and two-person units.

Programs using the guidelines (or percentage multiples of the guidelines — for instance, 130 percent of
the guidelines) in determining eligibility include Head Start, the Food Stamp Program, the National
School Lunch Program, and the Low-Income Home Energy Assistance Program. Note that in general,
cash public assistance programs (Aid to Families with Dependent Children and its block grant successor,
and Supplemental Security Income} do NOT use the poverty guidelines in determining eligibility. The
Earned Income Tax Credit program also does NOT use the poverty guidelines to determine eligibility.

The poverty guidelines (unlike the poverty thresholds) are designated by the year in which they are
issued. For instance, the guidelines issued in March 1997 are designated the 1997 poverty guidelines.
However, the 1997 HHS poverty guidelines only reflect price changes through calendar year 1996,
accordingly, they are approximately equal to the Census Bureau poverty thresholds for calendar year
1996. (The 1996 thresholds will be issued in final form about September or October 1997; a preliminary
version of the 1996 thresholds is now available from the Census Bureau.)

Go to the page of Information Contacts and References on the Poverty Guidelines, the Poverty
Thresholds, and the Development and History of U.S. Poverty Lines.

Return to the Poverty Guidelines, Research, and Measurement main page.

Last updated on 01/07/02

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Case 2:03-cv-00180-wks Document 1 Filed,06/25/03 Page 41 of 44-.- ..

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AFFIDAVIT

The undersigned hereby states as follows:

1. That | am currently the bookkeeper for the F/V Luke & Sarah and have been
since 1996.

2. That Scott Traudt made two trips on the FAV Luke & Sarah, for a 3/4 share as
a temporary worker, and was paid the following sums:

Trip ending March 16, 1997: $5798.26
Trip ending March 31, 1997: $1627.02

3. That Scott Traudt was provided with a written breakdown of the crew share .
for both trios he made, copies of which are attached.

4. That the records Scott Traudt seeks with regard to the payroll of the F//V Luke
& Sarah contain confidential income, expense and business information of the owner of
the vessel as well as confidential income and personal information of individual
identified crew members.

5. That attached hereto is a true copy of a Release executed by Scott Traudt in
connection with a claim for injury aboard the F/V Luke & Sarah in 1997.

=a Duckworth

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rcs
subscribed and sworn to before me this __/ Ss. day of June, 2003.

[ict dud Ma
Notary Public’
My Commission Expires: 10-02-05

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COPY
“A, LUKE SARAH

OSS STOCK

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TRIP EXPENSE

137939.45
BROKERAGE 6896.97
FUEL 5829.40
- LAND.EXP: 0.00
LUMPING 0.00
ICE 0.00
LUBE OIL 0.00
HYD.OIL 0.00
FILTERS 374.47
LEGAL 0.00
SUPPLIES 0.00
BOATRACS 329.24
BOXES 6915.00 ©
FREON ~ 0,00
TOTAL 13442.17

BOAT EXPENSE 3234.01

SETTLEMENT #
DATE PAID
DATE LANDED

BOAT %

BOAT SHARE
CREW SHARE
NET CREWSHARE
$PER SHARE
CHECK

# SHARES
PERSONALS

CREW EXPENSE
FOOD

TWINE LABOR
MISC:

TOTAL

age 42 of 44

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03/31/97
03/16/97

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FUEL 7047.94
. LAND.EXP 0.00
LUMPING 0.00
ICE 128.05
LUBE OIL 839.97
HYD.OIL 0.00
FILTERS 299.74
LEGAL 0.00
SUPPLIES 0.00
BOATRACS 0.00
BOXES 2540.05
FREON 0.00 .
TOTAL 10848,75

BOAT EXPENSE 959.83

Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 43 of 44

SETTLEMENT #
DATE PAID
DATE LANDED

BOAT %
BOAT SHARE
CREW SHARE
NET CREWSHARE
$PER SHARE
CHECK

# SHARES
PERSONALS

CREW EXPENSE
FOOD
TWINE. LABOR
MISC

TOTAL

9710
04/11/97
03/31/97

0.55
19196.66
18706,371

— 14643.18
274.17
45751,65
54.00
727.01

964,58
0,00
98,55

1063.13
Case 2:03-cv-00180-wks Document 1 Filed 06/25/03 Page 44 of 44

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Citizenship: = USA

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